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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                         CASE NO. 1:05-CR-163

                                                         HON. ROBERT HOLMES BELL
ROBERT PORTER,

              Defendant.
                                   /


                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #1029). On April 8,

2008, a Report of Eligibility was issued by the Probation Department that indicated

defendant appeared to be ineligible for consideration o modification of sentence.

Defendant has not filed an objection to the Report of Eligibility within the time-frame

established by procedures promulgated by the United States District Court for the

Western District of Michigan.

       It appears from a review of the original criminal file that defendant was sentenced

pursuant to a Superseding Felony Information charging him with Conspiracy to

Distribute and Possess with Intent to Distribute an Unspecified Quantity of Marijuana

contrary to 21 U.S.C. §§846, 841(a)(1), and (b)(1)(D).
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      Eligibility for consideration under 18 U.S.C. §3582(c)(2) is triggered only by an

amendment listed under Sentence Guideline §1B1.10(c). Because there is no listed

amendment lowering the guideline range for marijuana, defendant is not eligible for

sentence modification.

      ACCORDINGLY, defendant’s motion is hereby DENIED.




DATED:      July 11, 2008                 /s/ Robert Holmes Bell
                                         ROBERT HOLMES BELL
                                         CHIEF UNITED STATES DISTRICT JUDGE
